                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiffs,                              No. CR09-4057-MWB
 vs.                                               ORDER ON MOTION TO SEVER
 PETER W. HANSON,
                 Defendant.
                                  ____________________


         The defendant Peter Hanson (“Hanson”) has filed a motion to sever his trial from
that of codefendants Charles Hanson and Sandra Hanson. Doc. No. 65. The plaintiff (the
“Government”) resists severance. Doc. No. 66.
         In his brief in support of the motion, Doc. No. 65-1, Hanson argues severance is
appropriate for two reasons. First, he argues he would be unfairly prejudiced by the
admission of statements by his codefendants that incriminate him, citing Bruton v. United
States, 391 U.S. 123, 88 S. Ct. 1620, 20 L. Ed. 2d 476 (1968). The Government asserts
that Sandra Hanson has made no incriminating statements against either herself or Peter
Hanson, and it is anticipated that Charles Hanson will testify in person at the trial. The
Government further notes that even if a Bruton issue arises, any incriminating statements
against Peter Hanson “will be redacted to avoid any confrontation issue.” Doc. No. 66,
pp. 3-4. Based on the Government’s assertions, the court finds the Burton issue to be
moot.
         Hanson also argues his trial should be severed from that of his codefendants because
his defense is antagonistic to theirs, and he will be prejudiced if all of the defendants are
tried together. Regarding joinder of trials, the United States Supreme Court has held:
                Rule 8(b) states that “[t]wo or more defendants may be
                charged in the same indictment or information if they are



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              alleged to have participated in the same act or transaction or in
              the same series of acts or transactions constituting an offense
              or offenses.” There is a preference in the federal system for
              joint trials of defendants who are indicted together. Joint trials
              “play a vital role in the criminal justice system.” Richardson
              v. Marsh, 481 U.S. 200, 209, 107 S. Ct. 1702, 1708, 95
              L. Ed. 2d 176 (1987). They promote efficiency and “serve the
              interests of justice by avoiding the scandal and inequity of
              inconsistent verdicts. Id., at 210, 107 S. Ct., at 1708. For
              these reasons, we repeatedly have approved of joint trials. See
              ibid.; Opper v. United States, 348 U.S. 84, 95, 75 S. Ct. 158,
              165, 99 L. Ed. 101 (1954); United States v. Marchant, 12
              Wheat. 480, 6 L. Ed. 2d 700 (1827); cf. 1 C. Wright, Federal
              Practice and Procedure § 223 (2d ed. 1982) (citing lower court
              opinions to the same effect). But Rule 14 recognizes that
              joinder, even when proper under rule 8(b), may prejudice
              either a defendant or the Government. Thus, the Rule
              provides:

                     If it appears that a defendant or the government
                     is prejudiced by a joinder of . . . defendants . . .
                     for trial together, the court may order an election
                     or separate trials of counts, grant a severance of
                     defendants or provide whatever other relief
                     justice requires.
Zafiro v. United States, 506 U.S. 534, 537-38, 113 S. Ct. 933, 937, 122 L. Ed. 2d 317
(1993).
       However, “[a] defendant is not entitled to severance merely because the evidence
against a co-defendant is more damaging than the evidence against him. . . . Severance
becomes necessary [only] where . . . a jury could not be expected to compartmentalize the
evidence as it relates to separate defendants.” United States v. Mathison, 157 F.3d 541,
546 (8th Cir. 1998). As the Eighth Circuit Court of Appeals has held, “Where multiple
defendants are tried together, the risk of undue prejudice is best cured through cautionary




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instructions to the jury.” United States v. Boone, 437 F.3d 829, 838 (8th Cir. 2006)
(citing United States v. Mickelson, 378 F.3d 810, 817 (8th Cir. 2004)).
      The court finds Hanson has failed to show he will be prejudiced by a joint trial. His
motion for severance is denied.
      IT IS SO ORDERED.
      DATED this 12th day of April, 2010.




                                         PAUL A. ZOSS
                                         CHIEF MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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